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November 22, 2019

Hon. Andrew T. Baxter
United States Magistrate Judge
United States District Court
Northern District of New York
Federal Building and U.S. Courthouse
P.O. Box 7396
Syracuse, NY 13261-7396

       Re: Burinska v. SUNY, et al.
           19-CV-564 (USDC) (NDNY)
           (MAD) (ATB)

Dear Judge Baxter:

        I represent the plaintiff in the above-referenced action. I respectfully request a thirty (30)
day extension of the uniform pretrial deadlines in the above-referenced action (Dkt. 10), as set
forth below, based upon the time necessary to review the voluminous number of records recently
produced by the defendants, the defendants’ extensive privilege log and associated redaction and
withholding of records, and based upon the demands of my State and federal practice.
Defendants’ counsel consents to this request.

        By way of background, the Stipulated Confidentiality Agreement and Protective Order
was entered on October 18, 2019 (Dkt. 16), and on October 21, 2019, defendants electronically
emailed documents in response to plaintiff’s discovery demands, consisting of 3,538 pages. By
letter dated October 21, 2019, defendants mailed responses to plaintiff’s discovery demands
together with a privilege log identifying 157 documents that were withheld or redacted from
defendants’ document production. Based upon the demands of my State and federal practice, and
the date when I received the voluminous records and privilege log, additional time is necessary for
me to adequately review the documents and privilege log in order to properly consider joinder of
parties and amendment of the complaint, complete discovery, expert reports and rebuttal, and
motion practice, including the filing of an anticipated motion for summary judgment.

        Prior to the entry of the confidentiality agreement/protective order and receipt of
defendants’ document production, the Court previously granted an extension of the
joinder/amendment deadlines from October 11, 2019, to December 2, 2019 (Dkt. 14). No other
extensions have been granted in this action.
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         Based upon the above, I respectfully request a thirty (30) day extension of the uniform
pretrial deadlines in the above-referenced action, as follows:

       Joinder of parties/amendment of pleadings, from December 2, 2019, to January 2, 2020;

       Discovery, from June 15, 2020, to July 15, 2020;

       Experts - plaintiff, from March 17, 2020, to April 16, 2020;

       Experts - defendants, from May 1, 2020, to June 1, 2020;

       Expert rebuttals, from May 18, 2018, to June 17, 2018; and

       Motions, from August 14, 2020, to September 21, 2020.

        Additionally, the parties respectfully request an additional thirty (30) day extension of the
mediation completion date, from December 13, 2019, to January 13, 2020, based upon the
defendants’ request for additional settlement information from plaintiff to enable defendants to
more fully consider plaintiff’s settlement demand and obtain settlement authority, if any, to
participate in mediation. The parties are working towards this goal, and plaintiff has engaged
experts to this end.

       Thank you for your consideration.



                                                                      Very truly yours,

                                                                      Jeffrey P. Mans
                                                                      Jeffrey P. Mans




cc: Shannan C. Krasnokutski, AAG (via ECF)



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